                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 13 CR 844
       v.
                                                    Judge Andrea R. Wood
 HOWARD LEVENTHAL

                   GOVERNMENT’S MOTION TO RECONSIDER
                 EARLY TERMINATION OF SUPERVISED RELEASE

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, moves this court to

reconsider its December 3, 2020 order granting defendant Howard Leventhal’s second

motion for early termination of his supervised release, and to reinstate that term of

supervised release.

      I.     Introduction

      Howard Leventhal has at least a 12-year history of filing abusive and

harassing lawsuits against those he considers his enemies. As a result, among other

things, he was banned in 2015 from filing civil lawsuits in this district, and Judge

Brian Cogan of the Eastern District of New York (EDNY) imposed a blanket ban on

him filing civil suits anywhere in the country for the four-year period of his supervised

release when he sentenced Leventhal in this case in December 2016. See Exhibit 1 at

5 (Judgment and Commitment Order, 13CR695-BMC, R. 166). Because Leventhal

was prosecuted and sentenced in New York, and his supervised release transferred

to this district in March 2020, the government representatives from the Probation

Office and United States Attorney’s Office (USAO) in this district who were assigned
to his case were unaware of Leventhal’s abusive history when he submitted his second

motion for early termination of his supervised release on November 4, 2020. R. 35.

They therefore did not object, and this Court granted Leventhal’s motion on

December 3, 2020. R. 41.

      The very next day, Leventhal began what can only be described as a deranged

campaign against dozens of people, including filing a 134-page lawsuit in Cook

County naming as defendants Judge Cogan’s wife, the former Assistant U. S.

Attorney (AUSA) who prosecuted him in the EDNY, the FBI agent who investigated

that case, at least four U.S. Probation Officers (USPO) assigned to that case both in

the EDNY and this district, his former wife, her sister, her mother, his former CJA-

appointed lawyer and his wife, virtually the entire government of Ozaukee County,

Wisconsin, and many, many others.

      Based on this conduct, and Leventhal’s abusive prior history, the government

moves this Court to reconsider its December 3 order and reinstate Leventhal’s

supervised release conditions for the balance of the four-year term imposed by Judge

Cogan, for the reasons set forth below.

      II.    This Court Has The Authority To Reconsider and Reinstate
             Leventhal’s Supervised Release

      The first and most obvious question to be answered at this stage of the

proceedings is whether this Court has the authority to grant the government’s

motion. Both the Supreme Court and the Seventh Circuit have made it clear that the

answer is emphatically yes. In United States v. Healy, 376 U.S. 75, 84 S.Ct. 553

(1964), the Supreme Court held that a motion to reconsider a substantive ruling by a

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district court in a criminal case is properly brought if filed within the permissible

time for filing an appeal, and the Seventh Circuit definitively enforced this rule in

United States v. Rollins, 606 F. 3d 500 (7th Cir. 2010):

            Rollins filed his motion to reconsider within the time available for
            appeal and sought a substantive modification of the judgment. The
            motion therefore suspended the finality of the district court's order.
            . . . Healy and the common law supply all the authority needed.
            Rollins filed an appeal within 10 (countable) days of the district
            court's order denying his motion for reconsideration, so his appeal
            is timely . . . .

Id. at 504; see also United States v. Dieter, 429 U.S. 6, 97 S. Ct. 18 (1976) (a district

court can properly reconsider its substantive orders regarding both law and fact

within the time for filing an appeal).

       In computing the time available for the government to seek modification of the

December 3 order, which was entered that same day on the docket, Federal Rule of

Appellate Procedure 4(b)(1)(B)(i) provides that the government has 30 days from the

entry of the order to file an appeal, while Federal Rule of Appellate Procedure 26(a)(1)

provides that the day the order is entered is not counted in computing that 30-day

period, while every other day is counted unless the final day falls on a Saturday,

Sunday, or legal holiday, in which case the final day is the next business day. In this

case, therefore, the allowable period for the government to move to reconsider this

Court’s December 3 order began on December 4, 2020 and ends on January 4, 2021.

This motion is therefore timely and this Court has the authority to both consider and

grant it.




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      III.   Leventhal’s Supervised Release Should Be Reinstated

             A.     Background

      On October 22, 2013, Howard Leventhal was arrested in Chicago on a warrant

issued by the EDNY that charged him with wire fraud, in violation of 18 U.S.C. §

1343. R. 1. That same day, Leventhal appeared before Magistrate Judge Mason, was

released on bond, and was ordered removed to the EDNY. R. 2, 3, 4, 5. On December

23, 2013, Leventhal was charged by information in the EDNY with wire fraud and

aggravated identity theft, and entered a guilty plea that same day. R. 11 at 4. On

December 6, 2016, Leventhal was sentenced by EDNY Judge Brian Cogan to 36

months on the wire fraud charge and a consecutive 24 months on the aggravated

identity theft charge, for a total of 60 months’ incarceration, to be followed by four

years supervised release, and ordered to pay restitution of $1,350,819. See Exhibit 1

(Judgment and Commitment Order). One of the Special Conditions of Supervision

imposed by Judge Cogan was that “The defendant cannot commence any civil

litigation, nor seek to reopen any closed civil case, without the Court’s permission,

which will be granted if the Court determines that there is a colorable basis for the

proposed claim.” Id. at 5.

      Leventhal was released from FPC Duluth on April 23, 2019 and reported to

the Salvation Army halfway house in this district. Leventhal’s performance at that

facility was exceptionally poor, as reflected in his release evaluation:

        . . . [W]hile residing at the Salvation Army RRC and while on Direct
        Home Confinement . . . Mr. Leventhal had severe difficulty following
        instructions, not because he didn't understand them, but because he
        simply chose not to follow them. Mr. Leventhal had to be constantly

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       re-directed to follow the structure of his environment. Mr. Leventhal's
       attitude and adjustment to the structure of his environment and
       toward staff was arrogant, rude, argumentative, debative, insulting,
       self-centered, self­entitled, and borderline insolent.

       Mr. Leventhal exudes an exaggerated sense of self-importance and
       competence. He perceives himself as special. Mr. Leventhal believes
       the conventional rules of living with others do not apply to him. Mr.
       Leventhal has problems with persons in authority. When confronted
       with the consequences of his actions, Mr. Leventhal has no concern
       about the social and personal consequences of his behavior. It is the
       opinion of this RCM (Phillip Schroeder) that Mr. Leventhal's future
       prognosis does not appear to be positive or optimistic unless he
       chooses to follow the structure of his environment and the laws of the
       community. It is the opinion of this RCM that Mr. Leventhal will have
       severe difficulty in following the rules of supervised release and the
       directions of his Probation Officer. Mr. Leventhal will more than likely
       need increased supervision and constantly have to be re­directed to
       follow the structure of supervision. Mr. Leventhal will more than likely
       have difficulties following the directions of his Probation Officer, not
       because he doesn't understand them, but because he simply chooses
       not to follow them.

Exhibit 2 at 9; emphasis added.

      On December 12, 2019, Leventhal was released from the Salvation

Army and began his four-year term of supervised release. Id. at 2. On March

4, 2020, Leventhal’s supervision was transferred from the EDNY and

assigned to this Court. R. 10, 11. Barely two months later, on May 6, 2011,

USPO Nichols filed a Special Report regarding a violation of conditions of

supervised release by Leventhal:

        On May 2, 2020, the undersigned was informed by the Grafton,
        Wisconsin, Police Department that the offender violated a Court
        Order by contacting his ex-wife via email and by mailing her a
        gift card. There is currently an active arrest warrant for the
        offender out of Ozaukee County, Wisconsin for Violation of a
        Restraining Order under docket number 2019 CM000312. The
        offender is aware of this Restraining Order and active warrant

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           and does not intend to surrender.

           In response to the above listed information, a violation conference
           was held on May 6, 2020, via telephone conversation with this
           writer. Mr. Leventhal admitted to contacting his ex-wife via
           email. Mr. Leventhal understands that this type of behavior is not
           acceptable. Mr. Leventhal’s current situation and the specific
           behavior described above were focused on in detail. In response to
           this violation, short-term and long-term consequences of
           engaging in this type of behavior were discussed and Mr.
           Leventhal appears to understand the importance of being more
           mindful in the future. In addition, Mr. Leventhal has agreed to
           participate in mental health counseling to help better cope with
           being unable to see his adult daughter due to a restraining order
           against him. Mr. Leventhal has been strongly encouraged to
           strategize with his treatment provider a better way to handle this
           current situation and to come up with a plan of action so this can
           be used in the future to prevent new violation behavior.

R. 12, 13. The next day, Officer Nichols filed a second Special Report that advised:

           On May 7, 2020, Mr. Leventhal stated he filed a pro se motion for
           early termination of his Supervised Release. Mr. Leventhal began
           his term of supervision on December 12, 2019. Under 18 U.S.C.
           section 3564(c) and 3583(e)(1), the court may terminate terms of
           supervised release or probation in felony cases after the expiration
           of one year of supervision if satisfied that such action is warranted
           by the conduct of an offender and is in the interest of justice. Based
           on the above related information, the Probation office objects to
           this motion as Mr. Leventhal has not completed a year of his
           supervised release. Furthermore, on May 6, 2020, a special report
           was sent to Your Honor reporting that the offender violated a court
           order in Wisconsin by contacting his ex-wife.

R. 14.

         On May 11, 2020, Leventhal filed a pro se petition for early termination of his

supervised release. R. 15. On May 13 this Court ordered the government to respond

to Leventhal’s petition. R. 17. On May 28 the government objected to his request

based on the reasons set forth by USPO Nichols did in his May 7 Special Report—


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that Leventhal had not completed a year of supervised release and had violated a

court order in Wisconsin by contacting his former wife. R. 21.

      On June 15, 2020, Leventhal filed a motion for sanctions against United States

Attorney (USA) John Lausch, AUSA William Hogan, and USPOs Jay Nichols, Ronald

Jacobs, and Michelle Espinosa. He claimed that “Defendant’s submissions, . . .

enumerate panoply ways (sic) in which he has been extraordinarily harmed by

manifest injustices, egregious prosecutorial misconduct, 8th Amendment rights

denial by design of the Government, 6th Amendment rights denial by design of the

Government, gross disparity in sentencing and perhaps the most egregious

conceivable form of “civil disability;” the Government’s deliberate destruction of his

relationship with his daughter—at barest minimum a denial of his 14th Amendment

rights.” R. 28 at 1-2. Leventhal continued for 11 more pages to list his grievances and

demands for sanctions against the government personnel, concluding with a rant

against the former AUSA who prosecuted his New York case and including as an

exhibit what he claimed was a copy of a photo from Facebook showing the former

AUSA and his family on vacation. Id. at Ex. B; see also R. 25 at 8-11; 21; 26 (photos

of the former AUSA and FBI agent involved in Leventhal’s prosecution).

      This Court issued a minute order on July 22, 2020 denying Leventhal’s motions

for early termination of supervised release and for sanctions, and set the case for a

telephonic status conference on July 30. R. 33. In that call the government expressed

its concerns about Leventhal’s mental health, including that he had failed to comply

with directives by the Probation Office to obtain mental health treatment. It also


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objected to the photos of the former AUSA, FBI agent, and others included in several

of Leventhal’s filings. This Court found these images were not relevant to any issues

and were not appropriate for a public court docket, and therefore ordered those filings

to be sealed. R. 34. The Court further agreed that Leventhal retained the right to

renew his request for early termination at the end of a year, and set the matter for a

further status call on December 4, 2020. Id.

      On November 4, 2020, Leventhal filed a renewed early termination motion. R.

35. The next day, this Court directed the government to respond to the motion. R. 38.

After consulting with USPO Nichols and determining that Leventhal had not violated

any additional conditions of supervised release since the July telephone status, on

November 16 the government advised that it did not oppose early termination on the

one-year date of December 11, 2020. R. 39. On December 3, 2020 this Court therefore

granted Leventhal’s motion in a minute order that was docketed that same day. R.

41.

             B.     The Government Was Unaware of Leventhal’s Lengthy
                    Pattern of Abusive and Harassing Litigation When It
                    Responded To His Early Termination Motion

      Because Leventhal had not been prosecuted in this district there was no

Presentence Report (PSR) prepared here and none transmitted when his supervision

was transferred. The government representatives in this district who were assigned

to Leventhal’s case when it was transferred therefore were not familiar with his

background and history at the time this Court directed a response to his motion for

early termination of supervised release. Specifically, neither the probation officer nor


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government counsel were aware that Leventhal has a pattern of filing abusive,

frivolous, and harassing litigation against his perceived enemies since at least 2008,

including the former AUSA who prosecuted him in the EDNY, and the FBI agent and

USPO who worked on that case. Nor were the government representatives aware that

Leventhal had been sanctioned for that conduct multiple times by multiple courts,

including by the Executive Committee in this district and Judge Cogan. Nor was the

government aware of his years’ long disturbing and relentless harassment of his

former wife and daughter, including the resultant orders of protection they had been

forced to obtain due to his threats and abusive conduct.

       Thus, at the time the government responded to Leventhal’s second early

termination motion its representatives were unaware that he had been banned by

the Executive Committee of this District in 2015 from filing civil lawsuits without

prior permission because of his dozen years of abusive practices as a pro se litigant.

See Exhibit 3 (Exec. Committee Order in 15 CV 352 barring Leventhal). Nor that

Leventhal used an ex-wife named Malgorzata Kubiak to aid his pattern of abusive

litigation and that she too had been barred by the Executive Committee the same day

as Leventhal for the same reasons. See Exhibit 4 (Exec. Committee Order in 15 CV

353 barring his ex-wife Kubiak). 1 Nor that because of this abusive history Judge


1 As Judge Adelman of the Eastern District of Wisconsin noted, Kubiak too “[i]n recent years
… has been initiating frivolous legal proceedings in the United States District Court for the
Northern District of Illinois. On January 15, 2015, the Executive Committee of that court
noted her history of filing frivolous actions and added her to its list of restricted filers,
meaning that she cannot institute new civil actions in that district without the executive
committee’s permission. See In re Malgorzata Kubiak, N.D. Ill. Case No. 15-CV-0353. No
longer able to file frivolous suits in federal court in the Northern District of Illinois, Kubiak
turned to the Eastern District of Wisconsin.” See Kubiak v. Shannon, etal, 15-C-813 (E.D.WI.
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Cogan on December 6, 2016 had forbidden Leventhal as a condition of his supervised

release from filing any civil suits anywhere without Judge Cogan’s explicit prior

permission. Exhibit 1 at 5. Nor that while a prisoner at FCI Pekin in 2017, Leventhal

filed a civil suit against the former AUSA who prosecuted him, the FBI agent who

investigated that case, former Attorney General Loretta Lynch, his former wife Mary

Handeland, her mother, her sister, and others, that Judge Cogan found was “a

transparent attempt to harass a wide variety of people, including individuals who

have had to defend against Leventhal’s abuse of the legal process in the past,

including his ex-wife.” See Exhibit 4.

       Nor were they aware that Ms. Handeland had been forced to obtain orders of

protection against Leventhal and his relentless and abusive behavior from the Circuit

Court of Ozaukee County, Wisconsin, for which multiple arrest warrants have been

issued and are still outstanding. The affidavit attached as Exhibit 6 by Ms.

Handeland, Leventhal’s former wife and the mother of their adoptive daughter,

recounts much of this history, including Leventhal’s clear threat while he was still

incarcerated at FPC Duluth in August 2017 that because of his unshakable and

compulsive belief that Ms. Handeland is responsible for keeping their daughter away

from him, “I will irrevocably initiate a litigation campaign in federal and state court




2015). Judge Adelman further recognized that “Leventhal is Kubiak’s ex-husband. He, like
Kubiak, has a history of filing frivolous suits and is barred from filing civil cases in the
Northern District of Illinois without permission from that court’s Executive Committee. See
In re Howard Leventhal, N.D. Ill. Case No. 15-CV-0352.” Id. at 4 n. 4.




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against Mary Handeland and all who support her inhumane actions in this matter.

Such a campaign, if commences will commence on 8/30/17 and it will never end while

I am alive.” Id. at Ex. H.

      Nor were they aware that Leventhal’s daughter too had been forced to seek an

order of protection against him on June 21, 2019, soon after his release to the

Salvation Army halfway house and while his first motion for early termination of

supervised release was pending before this Court, directing that he “avoid contact

that harasses or intimidates (her). Contact includes: contact at petitioner’s home,

work, school, public places, in person, by phone, in writing, by electronic

communication or device, or in any other manner,” and “to avoid . . . causing any

person other than a party's attorney or law enforcement officer to contact the

petitioner unless the petitioner consents in writing” because Leventhal “has used

excessive litigation to harass and for no legitimate purpose.” See Exhibit 7 at 2-3;

emphasis in original.

      Had the government been aware of these facts it would have vigorously

opposed the motion for early termination of supervised release—and it is unlikely it

would have been granted by this Court. However, the government representatives

have only become aware of these matters in the aftermath of the December 3 order

removing the prohibition on filing civil lawsuits. Virtually the minute that prohibition

was lifted, Leventhal launched a fusillade of unhinged attacks in a Cook County civil

lawsuit against dozens of people, including his former wife, Judge Cogan’s wife, the

former EDNY AUSA, and three USPOs in this district, as well as filing a flurry of


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pleadings in this Court on December 24, 25, and 30 attacking many of these same

people, including “doxxing” USA John Lausch and AUSAs William Hogan and Scott

Heffron by publishing their home addresses in his December 30 notice of filing. As

set forth below, this clearly deranged behavior brought Leventhal’s prior history to

the government’s attention and warrants the reinstatement of his supervised release.

             C.     Leventhal’s Renewed And Continued Pattern Of Abusive
                    And Harassing Litigation Justifies Reinstatement of His
                    Supervised Release

      That Leventhal renewed his abusive conduct the moment his supervised

release was terminated demonstrates exactly why Judge Cogan imposed the

condition that barred him from filing any civil suits without Judge Cogan’s specific

permission. Only one day after the December 3 order, Leventhal used ex-wife (and

barred frivolous filer) Malgorzata Kubiak to violate his daughter’s Wisconsin order of

protection by contacting her by email at her college. See Exhibit 5. The email attached

a copy of the December 3 minute order and “urged in the strongest possible terms”

his daughter to “immediately . . . Read the yellow-highlighted portions of the attached

court order.” Id. It further urged her to meet for coffee before Christmas, threatening

that “[t]he choices you make in response to this message will have profound effects

upon you and those close to you, for a very, very long time.” Id. This ominous warning

constitutes a clear new threat to both Leventhal’s daughter and her mother, Ms.

Handeland.




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         Next, gloating that he was free of the restriction against filing civil lawsuits

without prior approval by Judge Cogan, 2 on December 15 Leventhal filed what was

obviously a long-planned meritless, vexatious, and harassing 134-page civil suit in

Cook County against Ms. Handeland, her mother, her sister, her employer, EDNY

Judge Cogan’s wife, the former EDNY AUSA, the FBI agent who investigated that

case, his former CJA-appointed criminal defense attorney and that attorney’s wife,

three U.S. Probation Officers in this District and one in the EDNY, the District

Attorney of Ozaukee County, Wisconsin, four members of the Ozaukee County Board,

several Ozaukee County Judges and Commissioners, the Ozaukee County Clerk of

Court, an attorney who represented Ms. Handeland and her daughter in their

successful efforts at obtaining and enforcing orders of protection in Wisconsin, a

Sargent on the Grafton, Wisconsin, police department, and others, including the

couple who purchased Leventhal and Ms. Handeland’s former home. See R. 42 at Ex.

A (copy of the 134-page lawsuit Leventhal filed in Cook County Circuit Court on

December 15, 2020). The suit alleged 19 different criminal conspiracies purportedly

engaged in by the 31 persons named. Leventhal emailed the lawsuit to Ms.



2   Leventhal described Judge Cogan and his wife as follows in his filing:
      Defendant Robin Keller coerced her husband, US District Judge the spineless,
      odious and honorless Brian M. Cogan of the Eastern District of New York, a
      corpulent, flatulent Republican Jackass gasbag appointed by bloviating Republican
      Jackass President George W. Bush - to enter language in the Judgment of Conviction
      (Exhibit C) oppressing, depressing, priorly restraining and limiting Leventhal’s First
      Amendment right to seek redress of the issues presented in this matter until
      Leventhal’s period of supervised release was ended. The federal court in Chicago,
      recognizing the egregious cruelty of the harms set forth in this complaint, ended
      Leventhal’s period of supervised release two years early on December 3, 2020, see
      order, Exhibit D hereto.

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Handeland’s sister the day before he filed it, and tried to email copies to dozens of

Ms. Handeland’s employers and fellow employees.

      In addition to this malicious and demented behavior, on December 24

Leventhal filed in this case what he called a Motion For Order To Show Cause,

Criminal Contempt And For Order Of Protection against the former AUSA, the FBI

agent, his former lawyer, an EDNY USPO, and two USPOs in this district. R. 42. The

motion attached a copy of the Cook County lawsuit and alleged that the day after it

was filed the USAO in this district had issued two subpoenas to his bank in

retaliation. Id. at ¶ 2. The next day, December 25, Leventhal filed what he called a

Motion For Sanctions And To Vacate Judgment Or Other Relief, in which he sought

sanctions against the same people he had named in his Order To Show Cause motion,

and demanded that his conviction in this matter be vacated so he could become a

foster parent. R. 43.

      When Leventhal’s supervised release was transferred to this district in March

2020, the responsibility to collect his $1.35 million restitution judgment was also

transferred to the Financial Litigation Unit (FLU) of the Chicago USAO. On

December 16, 2020, the FLU issued routine subpoenas to Wells Fargo Bank and

Credit One Bank seeking financial information regarding Leventhal’s ability to pay

that judgment. The subpoenas went out over the signature of AUSA Scott Heffron

and without any involvement by the AUSA assigned to Leventhal’s criminal case,

AUSA William Hogan, as is routine in such a situation, and the banks notified

Leventhal by letter of their receipt of the subpoenas, as is also routine. See R. 44, Ex.


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A (copies of the subpoenas and letters from the banks to Leventhal). Apparently in

response to the notices he received from his banks about the subpoenas, on December

26 Leventhal sent AUSA Hogan an email captioned “Social Security garnishment”

and threatening: “Be advised, if so much as $1 in social security funds, medicare or

any related funds vanish from my account or my mother's, the very next person sued

personally will be you.” See Exhibit 9. And on December 30, Leventhal filed what he

called a Motion To Quash Subpoenas And For Injunctive Relief regarding the

subpoenas served on his banks. R. 44. On the Notice Of Filing for that motion

Leventhal included the home addresses of USA John Lausch and AUSAs William

Hogan and Scott Heffron, thus doxxing all three government representatives, R. 44-

1, and, not incidentally, causing security concerns to be raised by the United States

Marshals Judicial Security Team.

      Finally, on January 1, 2021, Leventhal once again violated his daughter’s order

of protection by sending or causing to be sent to her a second email urging her to talk

with him and threatening: “If you can find some way to spend a little time with him,

the outcome might well be that your mother’s life gets a lot less complicated and yours

gets a lot more promising.” See Exhibit 10. Understandably, this threatening email

greatly upset Ms. Handeland and her daughter.

      IV.    Conclusion

      It is clear that Howard Leventhal is a seriously disturbed person with severe

mental health issues. He has essentially terrorized his former wife and engaged in

frivolous and harassing litigation against anyone he chooses for years. If the


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government had known of his conduct it would have strong opposed early termination

of his supervised release. And it is difficult to believe this Court would have granted

his motion if it had known Leventhal’s actual history.

      Leventhal has been the unintended beneficiary of the fact that his offense and

conviction took place in New York and therefore his actual history and conduct was

unknown in this district. That was an unintentional oversight this Court can and

should remedy by reinstating his supervised release for the balance of the time

ordered by Judge Cogan.

      For the foregoing reasons, the government respectfully requests this Court to

reconsider its December 3, 2020 order and to reinstate defendant Leventhal’s

supervised release. It further requests that this Court seal the Notice Of Filing for

Leventhal’s December 30, 2020 Motion To Quash, R. 44-1.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, JR.
                                               United States Attorney

                                        By:    /s/ William R. Hogan, Jr.
                                               WILLIAM R. HOGAN, JR.
                                               Assistant United States Attorney
                                               219 South Dearborn Street, Room 500
                                               Chicago, Illinois 60604




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                         CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that in

accordance with FED. R. CRIM. P. 49, FED. R. CIV. P. 5, LR5.5, and the General Order

on Electronic Case Filing (ECF), the following document:        GOVERNMENT’S

MOTION TO RECONSIDER EARLY TERMINATION OF SUPERVISED

RELEASE and EXHIBITS were served pursuant to the district court=s ECF system

as to ECF filers, if any, and were sent by U.S. mail on January 4, 2021, to the

following non-ECF filers:

Howard Leventhal
1205 E Prairie Brook Dr D1
Palatine, IL 60074
email: HLEV3@AOL.COM

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, JR.
                                             United States Attorney

                                      By:    /s/ William R. Hogan, Jr.
                                             WILLIAM R. HOGAN, JR.
                                             Assistant United States Attorney
                                             219 South Dearborn Street, Room 500
                                             Chicago, Illinois 60604

Dated: January 7, 2021




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